Case 2:18-cr-20030-DML-DRG ECF No. 1, PagelD.1 Filed 01/17/18 OR 1of4

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UNITED STATES DISTRICT COURT af
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, Case:2:18-cr-20030

Judge: Tamow, Arthur J.
MJ: Grand, David R.
+ tap Filed: 01-17-2018 At 03:39 PM
Plaintiff, INFO USA v. DELFGAUW (SO)

VIO: 18 U.S.C. §1344

-VS-

D-1 JOSEPH DELFGAUW,

 

Defendant.
/
INFORMATION
The United States Attorney:
COUNT ONE

(18 U.S.C. §1344 - Financial Institution Fraud)
D-1 JOSEPH DELFGAUW
l. Beginning in or about January 2008 and continuing through July 2008, in the
Eastern District of Michigan, Southern Division, defendant JOSEPH
DELFGAUW(D-1), executed a scheme to defraud and to obtain money owned by
and under the control of financial institutions by means of material false and

fraudulent pretenses and representations.

 

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As part of the scheme DELFGAUW did the following:

a. In or about January 2008, DELFGAUW recruited WL to be the buyer

of a property located at 2458 Elliot, Lincoln Park, Michigan.

b. DELFGAUW, with intent to defraud and without the knowledge of the

mortgage lender Citimortgage, a financial institution, promised WL that

although the property would be purchased in her name, she would not have to

make the mortgage payments or fund the down payment.

c. DELFGAUW, with intent to defraud, arranged for his company to

provide false proof of employment for WL, which was provided to

Citimortgage with the intent to influence its decision to approve the loan.
d. Also with intent to defraud, DELFGAUW paid WL $3,000 after the

closing once the property was purchased in her name.

e. After the loan was approved and the proceeds were disbursed, no

payments were made. This caused the loan to default resulting in losses to the

Citimortgage.
 

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3. Allin violation of Title 18, United States Code Section 1344.

Dated: January 17, 2018

MATTHEW SCHNEIDER
United States Attorney

finer. Mhepalde [21]

 

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United States District Court Criminal Case C Case:2:18-cr-20036
Eastern District of Michigan ° Judge: Tamow, Arthur J.
MJ: Grand, David R.

 

 

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NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to con
INFO USA v. DELFGAUW (SO)

 

 

 

 

 

Companion Case Information | Companion Case Number: 4 {-cr-20203
This may be a companion case based upon LCrR 57.10 (b}(4)": Judge Assigned: Ayvern Cohn
Yes LI No AUSA’sInitials: [ A, (v}

 

 

Case Title: USA v. Joseph Delfgauw

County where offense occurred : Wayne

Check One: [Xx] Felony L]Misdemeanor CJPetty
Indictment/___ Information --- no prior complaint.
indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information -—- based upon LCrR 57.10 (d} {Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_|Involves, for plea purposes, different charges or adds counts.
[ ]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

January 17, 2018 a= porte br)

Date Karen L. Reynolds
Assistant United States Attorney

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Detroit, Ml- 48226-3277

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Attorney Bar #; P31029

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

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